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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF OKLAHOMA

 (1) GEORGE COLLINS and                       )
 (2) ALRIKA COLLINS,                          )
                                              )
        Plaintiffs,                           )
                                              )
 v.                                           )      Case No. 6:22-cv-00318-RAW-JAR
                                              )
 (1) STATE FARM FIRE AND                      )
     CASUALTY COMPANY,                        )
                                              )
        Defendant.                            )


                 PLAINTIFFS’ NOTICE OF EXCHANGE OF
          TRIAL EXHIBITS AND REQUESTED JURY INSTRUCTIONS


       COMES NOW Plaintiffs George Collins & Alrika Collins (“Plaintiffs”) and hereby

file this Notice to the Court that Plaintiffs have exchanged all Trial Exhibits and Requested

Jury Instructions with opposing counsel pursuant to the Court’s Second Amended

Scheduling Order. See ECF 50 at 2 (“06/07/24 Exchange All Trial Exhibits including

Demonstrative Exhibits and Requested Jury Instructions”).

       Plaintiffs reserve the right to amend Trial Exhibits and Requested Jury Instructions

as Plaintiffs discuss such matters with Defendant’s counsel in preparing for additional

deadlines set forth in the Court’s Second Amended Scheduling Order.

                                                  Respectfully submitted,

                                                  /s/Preston J. Dugas III
                                                  Preston J. Dugas III
                                                  Admitted Pro Hac Vice
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                                                 -AND-

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                              CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2024 a true and correct copy of the foregoing was
served on all counsel of record pursuant to Federal Rule of Civil Procedure 5(b), as follows:

via email
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ATTORNEY FOR DEFENDANT SFF&CC


                                                         /s/Preston J. Dugas III
                                                         Preston J. Dugas III




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TRIAL EXHIBITS AND REQUESTED JURY INSTRUCTIONS                                          PAGE 3
